Case 1:03-cv-09849-GBD-SN Document1125-1 Filed 01/19/24 Pagelof2

DEFAULT JUGDMENT MOTION COVER SHEET

MDL MOVING PAPERS
Motion: ECF No. _ 9548

Memorandum of law: ECF No. _ 9549
Declaration & supporting exhibits: ECF No. _ 9550

PLAINTIFFS
Please describe each set of plaintiffs requesting judgments in this motion.
Exhibit Description of Plaintiffs Cause(s) of Action
B-1 ATA Solatium Claims w/ prior judgments ATA, 18 U.S.C. Sec. 2333
B-2 ATA Solatium Claims w/o prior judgments ATA, 18 U.S.C. Sec. 2333

C Putative ATA functional equiv. w/o prior judgmt | ATA, 18 U.S.C. Sec. 2333

DEFENDANTS
Please list all defendants the plaintiffs are moving against:

The Taliban

COMPLIANCE
As stated in ECF No. _ 9550__ at 4 _13_, counsel followed the quality control measures outlined in
ECF No. 3433 and adopted in ECF No. 3435,

As stated in ECF No. _9550__ at 4 _14 , these plaintiffs have not previously received judgments
against these defendants.

Excel versions of any tables attached to the proposed order were emailed to
Netburn_ NYSDChambers@nysd.uscourts.gov on _01_/ 19 / 2024

SUBJECT MATTER JURISDICTION
O The Court previously addressed subject matter jurisdiction over these claims in ECF No.

BH The Court has not previously addressed subject matter jurisdiction over these claims.

PERSONAL JURISDICTION
O The Court previously addressed personal jurisdiction over these defendants in ECF No.

H The Court has not addressed personal jurisdiction over these defendants.

FACTUAL & LEGAL QUESTIONS

O This motion requests 0 new functional equivalence findings; D new personal injury assessments;
or O resolution of a new issue:

H ‘This motion does not raise novel factual or legal issues.
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RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

Member Case & Notices of Amendment Alternative Service Affidavit of Certificate of Liability
Operative Complaint & Substitutions Order Service Default Judgment
*list entries relevant to moving plaintiffs* |*complete if applicable* *leave blank if requesting
liability judgment*
03-CV-9849 (GBD)(SN) In 02-cv-01616-JR: 1, 3, 26, 29, 77, 155, | 445 709 1756 1756
(previously 02-cv-01616-JR 232, 305, 313, 432
(D.D.C.)) In 03-md-01570: hand-filed (3/10/2004),

432, 602, 4318, 4327, 5296, 6903, 6904,
6955, 7131, 7267, 7980, 8433, 8434,
8487, 8696, 9532, 9533 (pending motion)

